Case 1:02-cV-01204-.]DB-tmp Document 49 Filed 05/06/05 Page 1 of 2k1 Page|D 61

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

JERRALE MARTIN,

 

Plaintiff,

v. No. 02-1204-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pharn for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation

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IT rs so oRDERED thisCa day of May, 2005.

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UJ DANIEL BREEN
@ED STATES DISTRICT JUDGE

 

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